                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

                                No. 5:11-CT-3020-BR

THOMAS SHANE MATHERLY,          )
                                )
            Plaintiff,          )
                                )
v.                              )
                                                    MEMORANDUM IN SUPPORT
                                )
                                                    OF DEFENDANTS’ MOTION
DEBORAH A. GONZALES, CANDICE    )
                                                    FOR SUMMARY JUDGMENT
GREGORY, KENNETH R. MCKOY,      )
KAREN STEINOUR, CHARLES SAMUELS )
and J.F. ANDREWS,               )
                                )
           Defendants.          )
                                )

        Defendants, by and through the United States Attorney for

the     Eastern     District      of    North     Carolina,      hereby    file        this

Memorandum in Support of Defendants’ Second Motion for Summary

Judgment.

      Plaintiff      filed      this   action     pursuant    to     Bivens       v.    Six

Unknown Named Agents of the Federal Bureau of Narcotics, 403

U.S. 388 (1971), asking for both monetary and equitable relief.

In his Complaint, Plaintiff, who has been committed pursuant to

the Adam Walsh Child Protection and Safety Act of 2006 (“Adam

Walsh     Act”),     and   is     housed     as    an   inmate     at     the     Federal

Correctional       Institution         (“FCI”)     in   Butner,    North        Carolina,

alleges     that     his     constitutional          rights   were      violated         by

Defendants,        when    they    treated        plaintiff   punitively         through




         Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 1 of 22
various conditions of his confinement.                   By way of written order

[DE #86] dated October 9, 2013, this Court partially granted

Defendants’ motion to dismiss [DE #69], and left viable only

Plaintiff’s       claims   regarding        disparities      in    recreation        time,

access    to    laundry    facilities,          and    access    to    vocational      and

education       opportunities;        and       the     claims        regarding      strip

searches,       mass   shakedowns     and    the      treatment       of    incoming   and

outgoing mail.

     By way of a subsequent written order [DE #124] dated May

18, 2015, this Court partially granted Defendants’ motion for

summary judgment [DE #111] with respect to all remaining claims

except      Plaintiff’s      claim      regarding          disparate         access     to

vocational and educational opportunities.                        In its discussion,

the Court noted that Defendants were “unable to state the extent

of the disparity between civil detainees’ and criminal inmates’

access     to    such     programs,    which          precluded       the    Court     from

determining whether limitations imposed were “rationally related

to treatment and security interests.”                    Defendants seek to file

this second motion for summary judgment in order to develop and

present facts responsive to the open questions and evidentiary

gaps identified in this Court’s prior order.




                                            2


         Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 2 of 22
       I.        Summary Judgment Evidentiary Standard.

       Summary       judgment    is     appropriate          when    there       exists     no

genuine issue of material fact, and the moving party is entitled

to judgment as a matter of law.                 Fed. R. Civ. P. 56(c); Anderson

v. Liberty Lobby, 477 U.S. 242, 247 (1986).                         The party seeking

summary judgment bears the burden of initially coming forward

and    demonstrating       an   absence     of    a    genuine      issue    of    material

fact.       Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).                           Once

the moving party has met its burden, the nonmoving party then

must affirmatively demonstrate that there exists a genuine issue

of material fact requiring trial.                     Matsushita Elec. Industrial

Co. Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).                             There

is    no    issue    for   trial      unless     there       is   sufficient       evidence

favoring       the   non-moving     party      for    a    fact-finder      to    return    a

verdict for that party.            Anderson, 477 U.S. at 250.

       II.       Defendants’ Statement of Undisputed Material Facts.

       Plaintiff’s      Complaint       alleges       that    criminal      inmates       have

access      to    educational     and    vocational          training    opportunities,

including         “[b]lue-print         reading,          introduction       to     towing,

keyboarding, electrical education, carpentry, Mineke [sic] Car

Care Program, GED, and more,” “NONE” of which are available to

him.       (Compl., p.6 ¶ 3.)         Plaintiff does not contend that he has

an underlying constitutional right to such opportunities, but



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           Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 3 of 22
instead      maintains        that     unequal      access     to    vocational         and

educational        training    is     punitive      and   therefore        violates     the

Fifth Amendment.

       As    an    initial    matter,     several      of     the   bare    allegations

contained in Plaintiff’s complaint are not substantiated by the

actual undisputed facts of record.                    See Anderson, 477 U.S. at

256 (noting that a party resisting summary judgment “may not

rest upon mere allegations or denials of [the] pleading, but

must set forth specific facts showing that there is a genuine

issue for trial”).             For instance, the Meineke Car Care program

referenced        in   Plaintiff’s     complaint       was    discontinued       (due    to

budgetary constraints) in 2007 with respect to all inmates at

FCC Butner.        (Neagle Decl. ¶ 32.)

       Similarly, Plaintiff’s allegation that civil detainees have

no access to GED education is simply inaccurate: While it is

true   that       no   GED   classes    are       currently    offered      to   the    CTP

population at this time, this is because there is no identified

need   for    such. 1        (Id.    ¶ 27.)        However,    at   least     one   civil

detainee previously expressed an interest in obtaining his GED,

and in that case a self-study plan was put in place whereby

Defendants provided the detainee with access to the necessary


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  Indeed, Plaintiff’s academic transcript shows that he already possesses a
GED or High School diploma and therefore has no need for GED classes himself.
(Neagle Decl., Attach. 2.)


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        Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 4 of 22
instruction     and    tutors.        (Id.        ¶ 28.)      Likewise,        Plaintiff’s

allegation that civil detainees are denied the opportunity to

participate in Narcotics and Alcoholics Anonymous is also false;

in fact, 5-7 civil detainees are presently participating in such

programming, which the institution arranges through an outside

sponsor.     (Denson Decl. ¶¶ 3, 5.)

      Finally, Plaintiff’s allegation that he is unable to obtain

instruction     in     keyboarding       is       belied   by    his    Education         Data

Transcript, which indicates that Plaintiff actually completed a

10-hour class in keyboarding earlier this year.                             (Neagle Decl.

¶ 39 & Attach. 2.)           In addition, Plaintiff has participated in

and     completed     both    Adult      Continuing          Education       (“ACE”)       and

community college courses in a variety of subjects (including

investing and personal finance, diversity and communication, and

health and wellness) while being certified or committed at FCI

Butner.     (Id.)

      Going     beyond       the   specific         allegations         of     Plaintiff’s

complaint,     the     evidence     in    this        case      will    show       that    the

educational      and      vocational          programming        sponsored          by     the

Education     Department      at   FCI    Butner       consists        of    the    library,

OASIS     courses,       Adult     Continuing          Education        courses,          GED,

postsecondary education, and vocational training.                            The evidence

will further show that many of these opportunities are available



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         Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 5 of 22
both to general population inmates and civil detainees, and that

where        disparities    exist,     there          are    legitimate       nonpunitive

governmental reasons supporting them.

        A.     Leisure/Law Library Access and OASIS Courses.

        All inmates at FCI Butner 2 are provided access to library

resources, to include fiction and non-fiction books, movies, and

other    reference     materials.        (Neagle            Decl.   ¶ 8.)      Books      and

educational       materials    beyond    what          are   maintained      in     the   FCI

Butner       library   inventory       may       be    obtained      by     both    general

population inmates and civil detainees through an inter-library

loan    program.       (Id.    ¶ 10.)            The    main    institution         library,

located within the Education Department, also contains computer

terminals providing inmate access to an Electronic Law Library

(“ELL”), as well as a classroom containing additional computer

terminals       providing     inmate    access         to     “OASIS”     computer-based

courses.         (Neagle    Decl.    ¶¶ 11-13,          21.)        The     OASIS    course

offerings include approximately 200 self-study courses on a wide

variety of topics, including both academic (e.g., computer and


2
  All references to “FCI Butner” herein are a reference to the single
instutition comprised of the Clemson, Duke, Georgia Tech, Maryland, North
Carolina, State, Virginia and Wake Forest housing units.     The occasional
reference to “FCC Butner” is a reference to the entire Federal Correctional
Complex comprised of the Federal Medical Center (“FMC”), Low Security
Correctional Institution (“LSCI”), FCI, FCI-II and Satellite Prison Camp.
For purposes of this case, the sentenced inmates housed specifically at FCI
Butner are considered to be the relevant comparator population, since
educational and vocational programming offered by the BOP will frequently
vary between different institutions.


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         Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 6 of 22
literacy)      and   vocational     (e.g.,      green    building      and    HVAC)

subjects.      (Neagle Decl. ¶ 21 & Attach. 1.)

        General population inmates at FCI Butner only have access

to the main institution library.                There are approximately 660

general population inmates currently housed at FCI Butner, and

the library is open to this population six days per week for a

total of 49 hours per week.            (Neagle Decl. ¶ 6; Ratledge Decl.

¶ 9.)     By contrast, there are approximately 60 civil detainees

currently housed at FCI Butner, and the main institution library

is   open    to   this    population      for   two   hours     each   Wednesday.

(Neagle Decl. ¶ 7; Ratledge Decl. ¶ 10.)                 While at first blush

this may seem like a significant disparity, it must be noted

that the time allocation is roughly proportional to the ratio of

general     population    inmates    to    civil   detainees     housed      at   the

institution. 3

      Beyond      this,   however,        FCI   Butner    has    established        a

satellite library inside the Maryland Unit for use solely by

civil detainees. 4        (Neagle Decl. ¶ 9.)            Civil detainees have

access to this satellite library seven days per week for a total

of 87.5 hours per week.             (Id.; Ratledge Decl. ¶ 10.)               Thus,


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  Solving for the ratio 60/660 = x/49, x = 4.5 hours per week, which would
represent perfectly proportional library access based on population.
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  Furthermore, civil detainees are the only population at FCI Butner who are
provided their own satellite library. (Ratledge Decl. ¶ 10.)


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         Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 7 of 22
civil    detainees    actually     have       nearly   twice   as    much   library

access    as    general   population      inmates,     despite      the   fact   that

general population inmates outnumber civil detainees by a factor

of ten.

     The Maryland Unit satellite library provides all the same

resources as the main institution library, including additional

ELL computer terminals, with the exception of OASIS computers.

(Neagle     Decl.   ¶¶ 14,   23.)      Thus,      civil    detainees       currently

wishing to complete an OASIS course must do so during the two

hours per week that the main institution library is accessible

to them.       However, since inmates register for OASIS courses on

their own, and proceed through the courses at their own pace

(Neagle Decl. ¶ 22), the more limited time that the main library

is open to civil detainees does not present a per se barrier to

civil    detainees    completing     those      courses.       Furthermore,      the

Education Department is currently exploring the possibility of

locating     additional    OASIS    computer      terminals    in    the    Maryland

Unit satellite library (exclusively for use by civil detainees)

if that can feasibly be done without compromising the safety and

security of the institution.         (Neagle Decl. ¶ 23.)

     B.        Adult Continuing Education (“ACE”).

     The Education Department also sponsors a variety of Adult

Continuing Education (“ACE”) courses, which are classes that are



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         Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 8 of 22
proposed, planned, and taught (in a live classroom setting) by

inmates    themselves.            (Neagle      Decl.     ¶¶ 15-16.)           The     subject

matter of ACE courses offered at any given time may vary, as the

ability to offer these classes depends on the availability of

inmates     with        the    particular          subject-matter          expertise       and

willingness to teach the course.                      (Id. ¶ 16.)          Thus, the ACE

courses     offered       to     general       population           inmates     and     civil

detainees    also        varies,       since    the     two    populations       are    kept

separate from each other to the extent practicable.                             (Id. ¶ 17;

Ratledge Decl. ¶ 7.)               At the present time, the following ACE

courses    are   offered        to     the    general    population:          Money    Smart,

Pre/Lit     Writing,          Math      Refresher,        Commodities,          Commercial

Driver’s         License             (“CDL”),           and         Introduction           to

Business/Landscaping; and the following ACE courses are offered

to civil detainees: Career Motivation, Basic Writing Skills, and

Business Management I and II.                 (Neagle Decl. ¶¶ 19-20.)

      C.    General     Education    Development                           (“GED”)         and
            Postsecondary Education.

      As   discussed          above,    GED    classes        are    available      both   to

general population inmates as well as any civil detainee who

expresses an interest.               (Neagle Decl. ¶¶ 26-28.)                 Furthermore,

all   inmates      at    Butner      are     permitted        to    take   post-secondary




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       Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 9 of 22
education       courses 5     by   correspondence        in   accordance   with     BOP

Program Statement 5354.03, Postsecondary Education Programs for

Inmates,     with     approval      from   the    Education     Department.        (Id.

¶ 24-25.)       However, these courses are not sponsored by the BOP

and inmates are responsible for researching these opportunities

and    paying     for   all     associated       costs    (tuition,    books,   etc.)

themselves.       (Id. ¶ 25.)

       D.    Vocational Programs.

       The vocational programming offered at FCI Butner consists

of    computer-based        OASIS    courses      (discussed     above,    which   are

available       to    civil     detainees)       and     hands-on,    instructor-led

courses for which inmates may be eligible to receive Continuing

Education credit and/or certificates.                    (Neagle Decl. ¶¶ 29-31.)

FCC Butner contracts with Vance-Granville Community College to

provide     the      hands-on      vocational     training     to    inmates.      (Id.

¶ 33.)      At the present time, four vocational courses are being

offered to general population inmates at FCI Butner: electrical,

logistics, parenting, and horticulture.                    (Id. ¶ 35.)     Generally

speaking, these vocational courses are offered on a schedule of

approximately four days per week, for approximately one to two

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  Post-secondary education courses are defined by BOP Program Statement
5354.03, Postsecondary Education Programs for Inmates, as courses for college
credit other than courses which pertain to the BOP’s occupational or
vocational education programs, which are discussed below. See Federal Bureau
of Prisons public website at http://www.bop.gov/policy/progstat/5354_003.pdf,
for the complete Program Statement.


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       Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 10 of 22
hours       per    day,        for     a    total        of   roughly     115-120     hours     of

instruction.            (Id. ¶ 34.)          Given the substantial classroom time

required for these types of classes, combined with the costs of

providing         the         courses       separately         to   the       civil    detainee

population 6 and the limited number of anticipated participants

from    among          that    population,          vocational      instruction        is     only

available         to    general      population           inmates   at    this   time.        (Id.

¶¶ 34, 37.)            Previously, the BOP offered the horticulture course

to civil detainees through the use of a greenhouse that was

constructed for the exclusive use of the CTP, but that course

was terminated in 2014 in large part because the time commitment

required by the course interfered with detainees’ participation

in treatment.            (Id. ¶ 36; Hernandez Decl. ¶ 12.)                       However, BOP

is     currently         reviewing          the     possibility          of   restarting      the

horticulture course for civil detainees, as well as offering

other       educational          and       vocational         opportunities      to   the      CTP

population to the extent that there is sufficient interest and

it can be accomplished without interfering with sex offender

treatment.         (Neagle Decl. ¶¶ 36-37.)

       E.     Sex Offender Treatment.

       Although         it     may     beg    the        obvious,   civil      detainees       are

provided one primary educational resource (albeit not one under

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  Vocational programming costs the BOP approximately $3,000 to $5,000 per
course, per session. (Neagle Decl. ¶ 33.)


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        Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 11 of 22
the    purview       of    the     Education          Department)         that   is    entirely

unavailable        to     the    general        population       –   the     Commitment      and

Treatment      Program          (“CTP”)    itself. 7        And      the     CTP      curriculum

includes more than just sex-offender specific psychotherapy: it

is a comprehensive and multidimensional program that seeks to

increase       a     participant’s          psychological,            sexual,         physical,

relational, social and spiritual well-being.                               (Hernandez Decl.

¶ 5.)      Thus,        the     CTP   offers      many    non-sex         offender     specific

groups        and         educational             activities,             such        as     the

assertiveness/communication                skills,        financial        management,      and

art projects classes that are included in the current schedule

of    group    activities         for     CTP    participants.             (Hernandez      Decl.

¶¶ 5, 10 & Attach. 2.)                  Nonetheless, the primary purpose of a

civil detainee’s commitment is to receive sex offender treatment

to    assist       the     individual        in       becoming       no    longer      sexually

dangerous.         (Id. ¶ 8.)         To this end, although the amount of time

spent in treatment varies according to each civil detainee’s

individual         treatment       needs,       as    a   general         estimate     a   civil

detainee would need to spend approximately 30 hours per week in

individual, group, and milieu therapeutic activities in order to


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  Plaintiff has consistently refused to participate in the CTP (Hernandez
Decl. ¶ 13), but Plaintiff’s personal decision not to avail himself of the
variety of activities offered through that program does not establish that he
has fewer opportunities for educational enrichment and personal development
than sentenced inmates.


                                                 12


        Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 12 of 22
obtain the intended therapeutic benefit of the program.                        (Id.

¶ 9.)

       III. Discussion.

       The Due Process Clause of the Fifth Amendment prohibits the

government from subjecting civilly committed persons to punitive

conditions of confinement.          See Youngberg v. Romeo, 457 U.S. 307

(1982).      Generally      speaking,    involuntarily      committed    persons

“are entitled to more considerate treatment and conditions of

confinement than criminals whose conditions of confinement are

designed to punish,” but this standard is not intended to “place

an undue burden on the administration of institutions.”                     Id. at

322.    Thus, the government need not have a “compelling” interest

or even demonstrate a “substantial” necessity to justify the

conditions of confinement of a civil detainee.              Id.

       Rather, to establish that a particular condition of his

confinement      is    constitutionally       impermissible        “punishment,”

Plaintiff    has   the     burden   of   showing   either   that    it   was    (1)

imposed with an expressed intent to punish or (2) not reasonably

related to a legitimate nonpunitive governmental objective, in

which case an intent to punish may be inferred.                       Martin v.

Gentile, 849 F.2d 863, 870 (4th Cir. 1988); see also Bell v.

Wolfish, 441 U.S. 520, 539 (1979) (“[I]f a particular condition

or   restriction      of   ...   detention    is   reasonably     related    to   a



                                         13


        Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 13 of 22
legitimate governmental objective, it does not, without more,

amount     to    ‘punishment.’            Conversely,       if     a     restriction     or

condition is not reasonably related to a legitimate goal – if it

is arbitrary or purposeless – a court permissibly may infer that

the purpose of the governmental action is punishment....”).                              In

applying        this     standard,       court        should     afford        substantial

deference to the professional judgment of prison administrators.

See Youngberg, 457 U.S. at 321; Bell, 441 U.S. at 547.

     Plaintiff         cannot     meet    this   burden        given     the   undisputed

facts of record.           The rational basis for Plaintiff’s conditions

of confinement begins with the intent of Congress as expressed

in statute.           Congress has specifically mandated that criminal

sentences       be    fashioned    with    the    objective       (among       others)    of

“provid[ing] the defendant with needed educational or vocational

training,”       18     U.S.C.    § 3553(a)(2)(D),             whereas    Congress       has

mandated that those who have been civilly committed be placed in

a   suitable         facility    specifically         for      “treatment”      of   their

serious    mental       disorder,    id.    § 4248(d).            In     Youngberg,      the

Supreme Court held that all due process requires is that the

government       provide    civilly       committed      persons       with    “minimally

adequate or reasonable training,” 457 U.S. at 319, and the BOP

has met this burden through the implementation of the CTP itself

which    (in     Defendants’      exercise       of    professional        judgment)     is



                                            14


        Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 14 of 22
designed to provide all the therapy and relapse prevention tools

that civil        detainees      need     to    treat       the    sexual      disorders       for

which they have been committed so as to allow them to be safely

reintegrated       back     into    the    community.              (See    Hernandez       Decl.

¶ 5.)

       Furthermore, while the Youngberg Court did hold that civil

detainees         were     generally       entitled           to     “more       considerate

treatment” than criminal inmates, 457 U.S. at 322, Defendants

question     whether       the   educational          and    vocational        opportunities

offered      to    general       population          inmates        could      ever       be   an

appropriate         yardstick          against          which        to        measure         the

constitutional           adequacy   of    the       programming          offered     to    civil

detainees.        This is because the full, unabridged quotation from

Youngberg suggests only that a civil detainee’s conditions of

confinement should be more considerate than those of “criminals

whose conditions of confinement are designed to punish.”                                       457

U.S.    at   322     (emphasis      added).            However,          providing    “needed

educational or vocational training” to sentenced inmates is not

a retributive goal of incarceration but a rehabilitative one; it

is not a condition of confinement that is “designed to punish,”

but rather a condition that is designed to help an individual

who may have resorted to a life of crime due to a lack of

opportunity       and     give   him     such       tools    as    may    be   necessary        to



                                               15


        Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 15 of 22
become a gainfully employed and productive member of society

upon release.

       Analogously,       the    CTP     is    designed        to       treat    the    sexual

disorders for which Plaintiff (and others) have been civilly

committed and provide them the tools to safely reintegrate into

society,    although        the     specific         developmental              targets    and

rehabilitative methods may very well differ in both form and

kind from those that would help rehabilitate a typical street

criminal    from     an   underprivileged           background.            The    fact    that

there is not perfect parity between programming available to

sentenced inmates and civil detainees simply does not support

any inference whatsoever of intent to punish.                           BOP has satisfied

its constitutional obligations so long as the programming it

does   offer    to    civil     detainees      through      the     CTP     is    “minimally

adequate”      and    “reasonable        in    light      of    identifiable           liberty

interests,”      Youngberg,        457    U.S.      at    319       &    n.25,     with     due

deference given to the professional judgment of the treatment

professionals in charge of implementing the program.                               And it is

manifestly reasonable for BOP to make sex offender treatment a

programmatic priority for civil detainees even if that limits

the amount of time detainees have to pursue other developmental

opportunities        or   the     resources        that   the       BOP     has    to     offer

detainees in terms of extra-curricular educational or vocational



                                              16


       Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 16 of 22
training, since sex offender treatment is the very reason for

their commitment.        (Hernandez Decl. ¶¶ 8, 11.)

      Even if the Court remains unconvinced by this analysis,

however, the undisputed facts demonstrate very minimal disparity

between      the    educational   opportunities       available       to    general

population inmates and those available to civil detainees.                       As

discussed above, inmates and detainees both have opportunities

to obtain their GED through FCI Butner’s Education Department,

and   to     pursue   postsecondary    education      on   their   own.        Both

inmates and detainees have access to take any of the nearly 200

computer-based,         self-study    OASIS       courses,    which        includes

offerings on a variety of educational and vocational topics. 8

And   both    inmates    and   detainees    are    offered   Adult     Continuing

Education      (“ACE”)     courses    through      FCI     Butner’s        Education

Department.        Although the specific course offerings at any given

time may differ between inmates and detainees, this is merely a


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  At present, OASIS courses are only accessible on dedicated computers in the
main institution’s Education Department, and civil detainees only have access
to the institution library for two hours per week each Wednesday.       Thus,
while civil detainees have equal access to OASIS, it is not for an equal
amount of time (it is, however, a roughly proportional amount of time given
the ratio of inmates to detainees).        However, keeping civil detainees
separate from inmates has been determined to be in the interest of safety,
security, and orderly operation of the institution, and so civil detainees
cannot be granted access to the main education department at the same times
as sentenced inmates. (Neagle Decl. ¶ 4; Ratledge Decl. ¶ 7.) Instead, BOP
chose to allow civil detainees access to the institution’s Education
Department for two hours on Wednesdays (the only weekday that no group
therapy is scheduled for the CTP, see Hernandez Decl., Attach. 2) and
establish a satellite library within the Maryland Unit for the exclusive use
of civil detainees. (Neagle Decl. ¶¶ 7, 9.)


                                       17


       Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 17 of 22
function of the fact that ACE courses are taught by inmates

themselves (who have some background expertise in the subject

matter), and thus the menu of course offerings varies between

populations depending on whether there is a qualified instructor

in a given population who is willing to lead a class.                          (Neagle

Decl. ¶¶ 16-17.)           In the same fashion, therefore, ACE course

offerings     will    vary     between     general      populations     at   different

institutions,        so   there    is     no    reasonable      inference    that    any

disparities in course offerings are evidence of unconstitutional

punishment directed to civil detainees.

      The only real disparity that exists, therefore, is with

respect to the vocational courses taught by contract instructors

from Vance-Granville Community College.                      Put simply, these are

time-intensive courses (with classes meeting for approximately

two   hours     per       day,    four     days       per     week,   and    requiring

approximately        115-120      total    hours       of    instruction)    that    are

difficult     to     reconcile      with        the   even    more    intensive     time

commitment (of approximately 30 hours per week) required for

full participation in the CTP.                      (Neagle Decl. ¶ 34; Hernandez

Decl. ¶ 9.)        Although the BOP constructed a greenhouse in the

Maryland Unit for use solely by civil detainees and even offered

a horticulture course to civil detainees for several years, this

course was eventually cancelled due to its interference with the



                                               18


      Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 18 of 22
treatment     schedule,       and   instead     the      CTP     administration

repurposed the greenhouse to be used for CTP community service

and work project therapeutic milieu activities.                  (Neagle Decl.

¶ 36; Hernandez Decl. ¶ 12.)

       Furthermore, any vocational training that would be provided

to civil detainees would have to be scheduled (and paid for)

separately from the classes that are already being provided to

general population inmates.         This is because civil detainees are

kept   separate     from    sentenced    inmates    to   the    maximum     extent

possible in order to maintain the safety, security and orderly

operation of the institution. 9          (Ratledge Decl. ¶ 7.)         However,

the costs of providing a vocational course (contracted through

the local community college), combined with the relatively small

population     of     the     Maryland       Unit     (60      detainees)     and

correspondingly low anticipated interest in such courses, would

generally make it cost-prohibitive to provide a comprehensive

offering of vocational classes for civil detainees. 10                    (Neagle


9
  Indeed, many civil detainees (including Plaintiff in this very Bivens case)
have complained about having even incidental contact with sentenced inmates,
claiming that this puts them at risk of harassment and/or assault.       (See,
e.g., Compl. p.8, ¶ 12.)     Plaintiff cannot have it both ways; given his
agreement with BOP policy that civil detainees and inmates be kept separate
to the extent possible, he cannot then fault BOP for not opening enrollment
in the vocational courses now being offered to the general population to him.
10
  As the Youngberg Court recognized, fiscal and budgetary constraints should
be considered as a legitimate reason supporting any disparities in
educational or vocational programming.    See 457 U.S. at 321, 323; see also
Thomas   S.  v.  Morrow,  781   F.2d   367   (4th  Cir.  1986)  (“[Q]ualified
professionals, to whom the courts owe deference, may consider the burden on


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       Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 19 of 22
Decl. ¶¶ 33, 37.)        Nevertheless, the BOP is currently reviewing

the possibility of restarting the horticulture program for civil

detainees and continues to explore and consider ways in which to

provide     additional       vocational        opportunities      beyond         that. 11

(Neagle Decl. ¶ 37.)

      Finally, as discussed above, civil detainees are in many

respects given greater access to educational opportunities than

sentenced    inmates:    the      CTP    itself   offers   a   full    schedule       of

programming (both sex-offender specific therapy and more general

activities    geared    to    personal      development),      and    the   Maryland

Unit is the only housing unit in FCI Butner that has its own

satellite    library     dedicated       for   the    exclusive      use    of    civil

detainees.      Nothing      in    the    Youngberg    decision      suggests       that

there must be perfect parity in programming as between inmates

the state when they prescribe treatment.”); Jackson by Jackson v. Fort
Stanton Hosp., 964 F.2d 980, 992 (10th Cir. 1992) (“In Youngberg, the Court
concluded that ‘the State is under a duty to provide respondent with such
training as an appropriate professional would consider reasonable....’ A
reasonable consideration must necessarily incorporate a cost analysis.”)
(citation omitted).
11
  The Court may also take note that Plaintiff appears never to have filed an
administrative remedy requesting that any particular vocational class be made
available to him.   (Coll Decl., Attach. 1.)     Although Defendants recognize
that   exhaustion  of  administrative   remedies   is   not  a  jurisdictional
prerequisite to suit (as it is for sentenced inmates), it is nonetheless
relevant that Plaintiff has not availed himself of the opportunity to have
the Education Department consider any specific requests for vocational
training he would like to propose, given that both the Clinical Coordinator
of the CTP and the Supervisor of Education indicate they are open to offering
vocational classes to the CTP population provided there is sufficient
interest to make providing the class worthwhile and it can be scheduled so as
not to conflict with treatment activities.      (Neagle Decl. ¶ 37; Hernandez
Decl. ¶ 11.)



                                          20


      Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 20 of 22
and detainees, and looking to the totality of the circumstances,

civil     detainees       are   provided       “more   considerate     treatment”

overall than their sentenced counterparts.

     IV.    Conclusion.

     For all of the reasons discussed, Defendants respectfully

request    that     the    Court    grant    summary   judgment   in    favor    of

Defendants     as   to    Plaintiff’s       sole   remaining   educational      and

vocational training opportunity claim.

     Respectfully submitted, this 28th day of August, 2015.

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                                          21


        Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 21 of 22
                             CERTIFICATE OF SERVICE

     I do hereby certify that I have this 28th day of August

2015,    served   a   copy    of   the    foregoing   upon   the   below-listed

parties by electronically filing the foregoing with the Court on

this date using the CM/ECF system.


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                                          22


        Case 5:11-ct-03020-BR Document 133 Filed 08/28/15 Page 22 of 22
